
44 So. 3d 341 (2010)
Andre ALEXANDER, et al.
v.
The ESTATE OF Maurice B. McNEAL, et al.
Althea Dupar, et al.
v.
The Estate of Maurice B. McNeal, et al.
No. 09-1169.
Court of Appeal of Louisiana, Third Circuit.
June 30, 2010.
Dale G. Cox, Bradley, Murchison, Kelly &amp; Shea, LLC, Shreveport, LA, for Plaintiffs-Appellees, Althea Dupar, Jared Troy Dupar and Paige Nicole Dupar.
Cory P. Roy, Beau R. Layfield, Marksville, LA, for Plaintiffs-Appellees, Andre Alexander and Phaetra Moore.
Ronald E. Raney, Lunn, Irion, Salley, Carlisle &amp; Gardner, Shreveport, LA, for Defendant-Appellant, Republic Vanguard Ins. Co.
*342 Court composed of SYLVIA R. COOKS, BILLY HOWARD EZELL and J. DAVID PAINTER, Judges.
COOKS, Judge.
For the reasons assigned in the companion and consolidated case of Andre Alexander, et al. v. The Estate of Maurice D. McNeal, et al., docket no. 10-66, the judgment of the district court is affirmed. Costs of this appeal are assessed to appellant, Republic Vanguard Insurance Company.
AFFIRMED.
